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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )           No. 5:21-CR-50014-001
                                                 )
JOSHUA JAMES DUGGAR,                             )
                                                 )
       Defendant.                                )

                          DEFENDANT’S MOTION TO COMPEL

       Defendant Joshua James Duggar (“Duggar”), by and through his undersigned counsel,

respectfully requests that this Court enter an Order compelling the Government to produce (1) all

discovery related to, and underlying, an undated screen shot disclosed by the Government Bates-

numbered “Joshua Duggar Discovery Provided 6-2-2021 001”; and (2) all law enforcement reports

and related discovery prepared by the Little Rock, Arkansas law enforcement entity and 2 other

unidentified law enforcement entities which participated in the investigation of this case.

       As set out herein, the Government disclosed to the defense a screen shot pursuant to Federal

Rule of Criminal Procedure 16 (hereinafter, “Rule 16”). However, the screen shot does not identify

what it is a screen shot of and the Government has not provided any information concerning the

“Summary” or “Investigative Activity” tabs which are visible in the picture. The screen shot also

provides no information concerning who Brandon King or David Warren are (two names which

appear in the screen shot) and what, if any, involvement either had in investigating this matter. A

cursory Google search suggests they may be affiliated with two separate Arkansas law

enforcement entities.

       The defense has repeatedly attempted to obtain this unambiguously discoverable evidence
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from the Government without unnecessarily involving this Court but, unfortunately, the

Government has refused to produce this evidence in violation of Rule 16 and Duggar’s

constitutional rights. Given that the Government initially disclosed the screen shot pursuant to

Rule 16—thus acknowledging that it is discoverable—the Government’s position is perplexing

because the Government has apparently determined that the actual evidence underlying the screen

shot is, somehow, not discoverable but the screen shot is. Where, as here, a picture of evidence is

discoverable, the evidence itself is undeniably discoverable as well.

       Furthermore, despite the defense’s attempts to obtain from the Government the law

enforcement reports and related evidence generated by the Little Rock, Arkansas law enforcement

entity which the Government acknowledges initiated this investigation and similar reports from

the two other law enforcement entities which the Government disclosed allegedly downloaded the

same file on May 14, 2019, the Government is refusing to produce this discovery. This is

particularly troubling because discovery thus far reveals that a file was allegedly downloaded from

a specific IP address on May 14, 2019 by Detective Amber Kalmer, an officer with a Little Rock,

Arkansas law enforcement entity, and by two other individuals who appear to be affiliated with

other Arkansas-based law enforcement entities. The documents disclosed by the Government

reveal that this matter was not even referred to Homeland Security Investigations (“HSI”) until

October 2019—begging the question of what transpired during the 5 months between May 2019

and October 2019. In this day and age, it is exceedingly unlikely that no reports whatsoever were

generated in these intervening months by any of the three law enforcement entities which allegedly

downloaded this file and the Government has responded to these discovery requests in a way that

strongly suggests the discovery exists but the prosecution simply refuses to turn it over.




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       The bottom line is that the evidence Duggar seeks in this motion is discoverable under Rule

16, Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), Kyles v.

Whitley, 514 U.S. 419 (1995), and their progeny. But despite multiple requests for this evidence

in which the defense specifically and expressly explained to the Government why Duggar is legally

and constitutionally entitled to it, the Government has flat-out refused to produce it and has done

so without acknowledging, much less engaging with, the defense’s positions. As such, Duggar is

left with no option but to move this Court to enter an order compelling its disclosure.

       I.      Relevant Background

       Duggar is charged in a two-count indictment alleging one count of receipt of child

pornography and one count of possession of child pornography. (Doc. 1). Duggar has pled not

guilty to both counts.

       The Government has produced certain discovery to Duggar. However, on June 2, 2021, the

Government notified the defense that it was producing additional discovery: a one page document

that the Government described as “a screenshot of the reflecting [sic] that 2 other Arkansas law

enforcement agencies likewise downloaded the same file as Detective Kalmer from Duggar’s IP

address on May 14, 2019.” (See Exhibit 1). Later that same day, the Government provided a cover

letter to the defense accompanying the screen shot, expressly stating, “[p]ursuant to Rule 16 of the

Federal Rules of Criminal Procedure, I am enclosing the following additional discovery materials

Bates numbered 001: Law enforcement log for May 14, 2019 IP Address 167.224.196.113[.]” (See

Exhibit 2).

       In response, the defense served on the Government a supplemental discovery request

seeking, among other things, discovery related to the screen shot. (See Exhibit 3). In the

supplemental discovery request, the defense expressly requested:



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        •       the information under the “Summary” tab reflected on the screen shot;

        •       the information under the “Investigative Activity” tab reflected on the screen shot;

        •       disclosure of the information reflected on the screen shot in native format (i.e., not

                simply a screen shot);

        •       disclosure of the date the screen shot was captured and identification of the

                individual(s) who captured the screen shot;

        •       law enforcement reports from the Little Rock, Arkansas law enforcement entity in

                connection with this investigation; and

        •       law enforcement reports from the two other law enforcement agencies which

                allegedly downloaded the same file on May 14, 2019, per the Government’s email

                disclosure expressly disclosing that alleged fact.

(See id.).

        On July 16, 2021, the Government responded by email. (See Exhibit 4). Refusing to

provide the requested discovery, the Government argued, “the information you requested further

detailing the downloading of CSAM from your client by 2 other law enforcement agencies is

extraneous to the present investigation/case and, therefore, is not covered by the rules of discovery.

If you feel we are wrong, please explain to us why discovery of this information is covered by the

rules of evidence.” (Id.). The Government provided no response to Duggar’s request for the law

enforcement reports from the Little Rock, Arkansas law enforcement entity which allegedly led to

the investigation at the heart of this case. (See id.).

        On July 21, 2021, the defense provided a written response, explaining that Rule 16, Brady,

Giglio, and Kyles govern the Government’s discovery obligations—not the “rules of evidence.”

(See Exhibit 5). And the defense explained that the Government had already acknowledged the


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screen shot was discoverable pursuant to Rule 16 but was inexplicably taking the position that the

evidence depicted in the screen shot was not. (See id.). Further, the defense noted that the Special

Agent who testified at the detention hearing in this case had materially omitted the alleged

investigative activities of two other law enforcement agencies when testifying about the

investigation to date, making this evidence all the more discoverable as impeachment evidence

that should have been disclosed before the detention hearing and, at a minimum, soon after. (See

id.). The defense also noted that the Government had not yet provided any law enforcement reports

from the Little Rock, Arkansas law enforcement entity with respect to the Government’s

investigation with the exception of some log files generated by computer software the Government

utilized. (See id.).

        In response, the Government curiously advanced a new position that its intention in

providing the screen shot “was to make the defense generally aware that two (2) other law

enforcement agencies in Arkansas downloaded CSAM from your client on May 14, 2019” but that

“the factual underpinnings of these other two (2) investigations are extraneous to the current case.”

(See Exhibit 6). And, again, the Government ignored the defense’s request for law enforcement

reports generated by the Little Rock, Arkansas law enforcement entity related to the Government’s

case. (See id.).

        The Government’s position with respect to Duggar’s requests is surprising and legally

unjustified, and this Court should grant Duggar’s motion to compel this critical evidence.

        II.        Discussion

        The evidence Duggar seeks is discoverable for several reasons, any one of which is

sufficient to grant this motion. As the Government has already correctly acknowledged, the screen

shot was, and is, discoverable under Rule 16. Thus, the actual evidence the Government’s screen



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shot depicts is also discoverable under Rule 16. Furthermore, evidence related to the screen shot

is discoverable pursuant to Brady, Giglio, and Kyles as it is potentially exculpatory, constitutes

impeachment evidence of at least one Government witness, and is potentially favorable material

evidence known by law enforcement, even if not known by the prosecutors handling this case. And

records created by the Little Rock, Arkansas law enforcement entity is discoverable for these same

reasons and, additionally, because, as it stands, there is an inconsistency between the written

discovery disclosed by the Government and the special agent’s under-oath testimony at Duggar’s

detention hearing as to what happened between May 2019 and October 2019 when the Government

applied for a search warrant. This matters—generally and also as to whether the evidence allegedly

seized by the Government in this case should be suppressed.

               A.      Rule 16

       Evidence related to the undated screen shot is discoverable pursuant to Rule 16(a)(1)(E)(i)

as it is “material to preparing the defense[.]” For example, it is the defense’s understanding that

when files are downloaded by law enforcement using the Torrential Downpour software utilized

by the Government in this case, detailed logs are created which provide significant information.

Specifically, these logs can reveal the type of hardware a file was allegedly downloaded from (i.e.,

an Apple computer, a PC computer, a smartphone, etc.). By contrast, an IP address reveals only

that a certain internet connection was utilized but does not identify in any manner the device from

which the file was downloaded.

       Duggar is entitled to this evidence, not only for the alleged download by Detective Amber

Kalmer which allegedly led to HSI’s involvement in this case, but also for the alleged downloads

by Brandon King and David Warren and their respective law enforcement entities. Will the logs

generated by their respective uses of Torrential Downpour reveal the same information or will they



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differ in certain respects? If, for example, one of the three logs reveals that the download involved

a smart phone while another log revealed the involvement of a computer, this would be useful in

preparing a defense and, potentially, relevant to a motion to suppress. But, as it stands, the

prosecution has concealed the logs related to 2 of 3 law enforcement agencies from the defense

and the prosecution has concealed the actual evidence underlying the screen shot.

       To be clear, the vast amount of data generated by the software used by the 3 law

enforcement entities that allegedly downloaded the same file on the same day from the same IP

address is being hidden from the defense for no good reason and this Court should enter an Order

requiring the Government to disclose this evidence to Duggar without any further delay. Indeed,

Duggar’s computer forensics expert should have access to this data.

       Moreover, this Court can and should conclude that the Government is estopped from

advancing an inconsistent position with respect to this particular discovery. The Government

produced the screen shot revealing that three people, on the same day, allegedly downloaded the

same file from a certain IP address, and the prosecution expressly produced this discovery to the

defense “[p]ursuant to Rule 16 of the Federal Rules of Criminal Procedure[.]” (See Exhibit 2).

That the Government is now taking the position that the evidence depicted in the screen shot is

somehow not discoverable pursuant to the same Federal Rule of Criminal Procedure is as curious

as it is illogical. Duggar is expressly asking this Court to conclude that the Government is estopped

from changing course in this manner. See, e.g., New Hampshire v. Maine, 532 U.S. 742, 750 (2001)

(judicial estoppel “prohibit[s] parties from deliberately changing positions according to the

exigencies of the moment” (quoting United States v. McCaskey, 9 F.3d 368, 378 (5th Cir. 1993)).

If, for example, the Government were prosecuting a gun case, it would surely not take the position

that the defense was only entitled to a picture of the gun allegedly at issue but that the defense was



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not entitled to access the gun itself. But that is essentially the position the Government is advancing

here.

        Duggar is similarly entitled to law enforcement records created by the Little Rock,

Arkansas law enforcement entity prior to this matter being referred to HSI. There is a lengthy gap

in discovery—the screen shot shows that a file was allegedly downloaded from an IP address in

May of 2019, but HSI was not referred this case until approximately October 2019 according to

its own written reports. It strains credulity to assume that absolutely no records were generated

after Detective Kalmer’s activity in May of 2019 until HSI began its investigation. What, if

anything, that was done during this time is material to Duggar’s preparation of his defense and is,

therefore, discoverable pursuant to Rule 16. Furthermore, what, if anything, was done during this

time may be relevant to a motion to suppress and, perhaps, other pretrial motions.

               B.      Brady, Giglio, and Kyles

        This evidence is also unambiguously discoverable as it could be used to impeach the

credibility of at least one Government witness in this case: Special Agent Faulkner.

        At the detention hearing, Special Agent Faulkner did not mention, let alone testify about,

any law enforcement actions by any other law enforcement entities and, therefore, evidence related

to any other entity’s investigations constitutes evidence which tends to impeach his credibility.

This is even more significant because Special Agent Faulkner testified under oath that the case

was referred to HSI before the date HSI’s reports reveal (October 2019). As such, this evidence is

unambiguously discoverable pursuant to Giglio.

        The Torrential Downpour logs generated by the 2 other law enforcement entities are very

likely exculpatory as there is no good reason the Government would refuse to produce them if they

were consistent with the logs the Government produced related to the Little Rock, Arkansas law



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enforcement entity. See Brady, 373 U.S. at 87 (“suppression by the prosecution of evidence

favorable to an accused upon request violates due process where the evidence is material either to

guilt or to punishment, irrespective of the good faith or bad faith of the prosecution”). However,

regardless of whether the evidence Duggar seeks in this motion is material to the defense,

impeachment evidence, or facially exculpatory, the bottom line is this: Duggar is constitutionally

entitled to it and the Government has no right to hide it.

       The Government’s conclusory arguments that the activities of “2 other law enforcement

agencies is extraneous to the present investigation/case and, therefore, is not covered by the rules

of discovery” (see Exhibit 4) and “the factual underpinnings of these other two (2) investigations

are extraneous to the current case” (see Exhibit 6) are refuted by settled law in both this Circuit

and in courts throughout the United States. The Government has an affirmative obligation to learn

of, and disclose, this type of evidence. See United States v. Robinson, 809 F.3d 991, 996 (8th Cir.

2016) (“Because ‘[a] prosecutor has a duty to disclose evidence known by police officers, even if

not known by the prosecutor,’ a prosecutor has an attendant duty to learn of such evidence”)

(quoting United States v. Tyndall, 521 F.3d 877, 882 (8th Cir. 2008)); see also Kyles, 514 U.S. at

437-38 (“the individual prosecutor has a duty to learn of any favorable evidence known to the

others acting on the government's behalf in the case, including the police. But whether the

prosecutor succeeds or fails in meeting this obligation (whether, that is, a failure to disclose is in

good faith or bad faith), the prosecution's responsibility for failing to disclose known,

favorable evidence rising to a material level of importance is inescapable”) (internal citation to

Brady omitted). The Government’s attempts to label this evidence as extraneous to its case and

not discoverable merely because this evidence was created by a different entity are uncompelling

and should be rejected by this Court.



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        III.    Conclusion

        Based on the foregoing, Duggar respectfully requests that this Court enter an Order

requiring the Government to produce all discovery related to and underlying the undated screen

shot labeled “Joshua Duggar Discovery Provided 6-2-2021 001” and all law enforcement reports

generated by the Little Rock, Arkansas law enforcement entity and the 2 other law enforcement

entities reflected on the screen shot at issue.



                                                  Respectfully submitted,

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                                     Certificate of Service

      I hereby certify that the foregoing was filed electronically with the Clerk of the Court to be

served by email upon counsel for the United States of America.


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